UNITED STATES OF AMERICA,

 

 

 

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF IOWA
CEDAR RAPIDS DIVISION

)
)
Plaintiff, ) NO. CR 06-0053 LRR
)
VS. ) COUNTS 1-5
) 21 U.S.C. § 84i(a)(1)}
JAHMAL GREEN, )
a/k/a Cheeseburger, )
)
Defendant. )
INDICTMENT
COUNT 1

On or about October 26, 2004, in the Northern District of lowa, JAHMAL GREEN,

a/k/a Cheeseburger, after having been previously convicted of one or more felony drug

offenses, to wit:

Possession of a controlled substance on January 2, 2003, in
the Ramsey District Court, Minnesota, case number
02235585;

Possession of a controlled substance on May 1, 1995, in the Circuit
Court of Cook County, Illinois, case number 94CR1533901;

Possession of a controlled substance on April 30, 1996, in the
Circuit Court af Cook County, Illinois, case number 96CRO0364001;

Manufacture and delivery of a controlled substance on September
8, 1997, in the Circuit Court of Cook County, Illinois, case number
97CR1306101;

Manufacture and delivery of a controlled substance on September
&, 1997, in the Circuit Court of Cook County, Illinois, case number
97CR1764601; and

Case 1:06-cr-00053-CJW-MAR Document 1 Filed 05/04/06 Page 1 of 6
 

Manufacture and delivery of a controlled substance on September
8, 1997, in the Circuit Court of Cook County, Illinois, case number
97CGR1020101;

did knowingly and intentionally possess with intent to distribute approximately .93 grams
of a mixture or substance containing a detectable amount of cocaine base, commonly
called "crack cocaine," a Schedule II controlled substance.
This in violation of Title 21, United States Code, Sections 841(a)(1) and 851.
COUNT 2
On or about May 6, 20085, in the Northern District of lowa, JAHMAL GREEN, a/k/a
Cheeseburger, after having been previously convicted of one or more felony drug
offenses, to wit:
Possession of a controlled substance on January 2, 2003, in
the Ramsey District Court, Minnesota, case number

02235585;

Possession of a controlled substance on May 1, 1995, in the Circuit
Court of Cook County, Illinois, case number 94CR1533901;

Possession of a controlled substance on April 30, 1996, in the
Circuit Court of Cook County, Illinois, case number 96CRO364001;

Manufacture and delivery of a controlled substance on
September 8, 1997, in the Circuit Court of Cook County, Illinois,
case number 97CR1306101;

Manufacture and delivery of a controlled substance on
September 8, 1997, in the Circuit Court of Cook County, Illinois,
case number 97CR1764601; and

Manufacture and delivery of a controlled substance on September

8, 1997, in the Circuit Court of Cook County, Illinois, case number
97CR1020101;

Case 1:06-cr-00053-CJW-MAR Document 1 Filed 05/04/06 Page 2 of 6
 

did knowingly and intentionally distribute approximately .69 grams of a mixture or

substance containing a detectable amount of cocaine base, commonly called "crack
cocaine," a Schedule II controlled substance, within 1,000 feet of the real property
comprising Coe College tocated at 1220 First Avenue NE, Cedar Rapids, lowa.
This in violation of Title 21, United States Code, Sections 841(a)(1), 851, and
860{a).
COUNT 3
On or about May 6, 2005, in the Northern District of lowa, JAHMAL GREEN, a/k/a
Cheeseburger, after having been previously convicted of one or more felony drug
offenses, to wit:
Possession of a controlled substance on January 2, 2003, in
the Ramsey District Court, Minnesota, case number

02235585,

Possession of a controlled substance on May 1, 1995, in the Circuit
Court of Cook County, Illinois, case number 94CR1533901;

Possession of a controlled substance on April 30, 1996, in the
Circuit Court of Cook County, Illinois, case number 96CRO0364001;

Manufacture and delivery of a controlled substance on
September 8, 1997, in the Circuit Court of Cook County, Illinois,
case number 97CR1306101;

Manufacture and delivery of a controlled substance on
September 8, 1997, in the Circuit Court of Cook County, Illinois,
case number 97CR1764601; and

Manufacture and delivery of a controlled substance on September

8, 1997, in the Circuit Court of Cook County, lilinois, case number
970R1020101;

Case 1:06-cr-00053-CJW-MAR Document 1 Filed 05/04/06 Page 3 of 6
 

did knowingly and intentionally distribute approximately .62 grams of a mixture or

substance containing a detectable amount of cocaine base, commonly called "crack
cocaine," a Schedule II controlled substance, within 1,000 feet of the real property
comprising Coe College located at 1220 First Avenue NE, Cedar Rapids, lowa.
This in violation of Title 21, United States Code, Sections 841(a)(1), 851, and
860(a).
COUNT 4
On or about May 18, 2005, in the Northern District of lowa, JAHMAL GREEN,
a/k/a Cheeseburger, after having been previously convicted of one or more felony drug
offenses, to wit:
Possession of a controlled substance on January 2, 2003, in
the Ramsey District Court, Minnesota, case number

02235585;

Possession of a controlled substance on May 1, 1995, in the Circuit
Court of Cook County, Illinois, case number 94CR1533901;

Possession of a controlled substance on April 30, 1996, in the
Circuit Court of Cook County, Illinois, case number S6CRO364001;

Manufacture and delivery of a controlled substance on
September 8, 1997, in the Circuit Court of Cook County, Illinois,
case number 97CR1306101;

Manufacture and delivery of a controlled substance on
September 8, 1997, in the Circuit Court of Cook County, Illinois,
case number 97CR1764601; and

Manufacture and delivery of a controlled substance on Septernber

8, 1997, in the Circuit Court of Cook County, Illinois, case number
97CGR1020101;

Case 1:06-cr-00053-CJW-MAR Document 1 Filed 05/04/06 Page 4 of 6
 

did knowingly and intentionally distribute approximately .95 grams of a mixture or

substance containing a detectable amount of cocaine base, commonly called “crack
cocaine," a Schedule II controlled substance.
This in violation of Title 21, United States Code, Sections 841(a)(1) and 851.
COUNT 5
On or about June 25, 2005, in the Northern District of lowa, JAHMAL GREEN,
a/k/a Cheeseburger, after having been previously convicted of one or more felony drug
offenses, to wit:
Possession of a controlled substance on January 2, 2003, in
the Ramsey District Court, Minnesota, case number

02235585;

Possession of a controlled substance on May 1, 1995, in the Circuit
Court of Cook County, Illinois, case number 94CR1533901;

Possession of a controlled substance on April 30, 1996, in the
Circuit Court of Cook County, Illinois, case number 96CRO0364001;

Manufacture and delivery of a controlled substance on
September 8, 1997, in the Circuit Court of Cook County, illinois,
case number 97CR1306101;
Manufacture and delivery of a controlled substance on
September 8, 1997, in the Circuit Court of Cook County, Illinois,
case number 97CR1764601; and
Manufacture and delivery of a controlled substance on September
8, 1997, in the Circuit Court of Cook County, Illinois, case number
97CR1020101;
did knowingly and intentionally possess with intent to distribute approximately 6.18
grams of a mixture or substance containing a detectable amount of cocaine base,

commonly called "crack cocaine,” a Schedule II controlled substance.

Case 1:06-cr-00053-CJW-MAR Document 1 Filed 05/04/06 Page 5 of 6
 

 

This in violation of Title 21, United States Code, Sections 841{a)(1) and 851.

 

 

A TRUE BILL
; LL ; I~ 4-9
OREMAN Date
CHARLES W. LARSON, SR.
United States Attorney
Py t) A) ke |
PATRICK J. REINERT
Assistant United States Attorney
I PRESENTED IN OPEN COURT
. BY THE
FOREMAN OF THE GRAND JURY
IN THE PRESENCE OF THE
GRAND JU
And LLY {0

_ PRIDGEN J. WATKINS, CLERK

Case 1:06-cr-00053-CJW-MAR Document 1 Filed 05/04/06 Page 6 of 6

 

 
